         Case 1:17-cr-00170-RJA Document 54 Filed 04/26/19 Page 1 of 6



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                         17-CR-170


DAVID NICHOLS,

                             Defendant.



                   GOVERNMENT RESPONSE TO DEFENDANT’S
                   OBJECTIONS TO THE PRESENTENCE REPORT


Preliminary Statement:

       On January 13, 2018, the defendant appeared before this court and pleaded guilty to

Title 18 United States Code, Section 3220(a)(1) [conspiracy to traffic in counterfeit goods].



       Pursuant to paragraph 8 of the written plea agreement, the government maintains the

2 level enhancement under Guidelines § 2B5.3(b)(6)(A) [Offense involved the conscious or

reckless risk of death or serious bodily injury] applies to the offense of conviction. The

defendant specifically reserved the right to argue to the court that this enhancement does not

apply to the offense of conviction [Dkt. 27].



       The   Presentence    Investigation   Report    at   paragraph   72    found   Guideline

§2B5.3(b)(6)(A) applied to the defendant’s offense of conviction (Dkt 38.)
         Case 1:17-cr-00170-RJA Document 54 Filed 04/26/19 Page 2 of 6



       The defendant objected to the United States Probation Department’s application of

Guidelines §2B5.3(b)(6)(A) and filed objections to the presentence investigation report (Dkt.

47). The following constitutes the government’s response to the defendant’s objection.



FACTS:

       As set out in paragraphs 8 through 64 of the Presentence Investigation Report, the

defendant and co-defendant Raymond Whelan, entered into an agreement where they

imported/smuggled counterfeit automobile air bags into the United States from China. The

counterfeit air bags were subsequently sold to third parties using the internet specifically, e-

Bay.



       Since the defendant resided in China, his role in the conspiracy was to locate, negotiate

and order counterfeit air bags from Chinese sources of supply. Co-defendant Whelan’s role

in the conspiracy was to determine the quantity and type of air bags needed, assemble and

sell the counterfeit air bags to unknowing third parties.



       Defendant Nichol’s contends the enhancement is inapplicable to him because “Mr.

Nichols had no contact with air the airbags, believed them to be fully assembled at the time

they were imported, was unaware of any mistakes in assembly, and took no part in marketing

or sales” (Dkt 47 @ ¶ 12). The following constitutes the government’s response to the

defendant’s objections.




                                               2
         Case 1:17-cr-00170-RJA Document 54 Filed 04/26/19 Page 3 of 6



Law:

       The conscious or reckless risk of death or serious bodily injury enhancement provided

at USSG § 2B5.3(b)(6)(A) is identical in wording to the enhancement provided for theft and

fraud offenses at USSG § 2B1.1(b)(16). The Background commentary to § 2B5.3 notes that

“[t]his Guideline treats copyright and trademark violations much like theft and fraud.”

              In United States v. Lucien, 347 F.3d 45, 56–57 (2d Cir.2003), the
              Second Circuit examined the conduct and/or knowledge
              necessary for the conscious or reckless risk of death or serious
              bodily injury enhancement to apply. The defendant was
              convicted of health care fraud based on staging automobile
              accidents where no one was injured. The defendant argued the
              enhancement was improperly applied because she was not aware
              of the dangerousness of her conduct. The Second Circuit
              rejected the argument and held that in order for the enhancement
              to apply,

              [A] defendant's fraudulent conduct must have created a risk that
              others would suffer serious bodily injury; moreover, said risk
              must have either been known to the defendant (conscious),

                      or,

              if unknown to the defendant, the type of risk that is obvious to a
              reasonable person and for which disregard of said risk represents
              a gross deviation from what a reasonable person would do
              (reckless). See also, United States v. Maxo Jean,(unpublished
              decision) 647 Fed.Appx.1 92d Cir. 2016).


       The Second Circuit has used the above mentioned analysis and found the

enhancement applicable in United States v. Feldman 647, F3d 450 (2d Cir.2011) [defendant

convicted of fraudulently offering liver transplants] and United States v. Thorn 446 F.3d 348

(2d Cir. 2006) [defendant convicted of clean air act violation].




                                               3
           Case 1:17-cr-00170-RJA Document 54 Filed 04/26/19 Page 4 of 6



Argument:

        Using the above, it would be proper for this Court to conclude the defendant’s

fraudulent conduct can be construed as either conscious or reckless.



        The product the defendant smuggled into the United States were automobile air bags.

Air bags are installed in automobiles in an effort to avoid or minimize the risk of death or

serious bodily injury. According to the National Highway Transportation Agency (NHTSA)

website, airbags serve as supplemental protection and are designed to deploy in moderate to

server crashes. They are designed to reduce the chance that a person’s upper body or head

will strike the vehicle’s interior during a crash. The NHTSA estimated 2,756 lives were saved

in 2016 due to frontal air bags. Due to the protection airbags provide, a vehicle equipped

with a counterfeit airbag is a cause for concern. The reason is, counterfeit air bags have been

shown to consistently malfunction in ways that range from non-deployment to the expulsion

of metal shrapnel during deployment.



        Here the government tested several of the smuggled counterfeit air bags seized during

the investigation against original manufacturer equipment (OEM) airbags. Consistent with

the NHTSA article the counterfeit air bags either failed to fully inflate or over inflated thereby

causing shrapnel during deployment. 1



        The defendant should have immediately known he was creating a risk others would

suffer serious injury when he received correspondence from his Chinese source of supply


1
  The government will provide the Court and defense counsel with a copy of the disk depicting the test under
separate cover.


                                                     4
         Case 1:17-cr-00170-RJA Document 54 Filed 04/26/19 Page 5 of 6



advising him that air bags from China could not be imported into the United States (See PSR

¶42). Rather than stop the shipments, the defendant elected to continue so he could make

money. In an email from the defendant to co-defendant Raymond Whelan, the defendant

stated, “It isn’t the PITA that bothers me, it’s that the good might be confiscated and I’d hate

to lose money on the deal.” (See PSR P48).



       The defendant later arranged to have unassembled air bags smuggled into the United

States (See PSR ¶ 51 and 53). As the unassembled air bags arrived, the defendant should

have realized co-defendant Whelan had little to no knowledge on how to assemble the air

bags. During a conversation, co-defendant Whelan informed the defendant that the air bags

are “showing up in a thousand pieces… literally” and “I tried to put some together but will

need some instruction on the correct process. These are life saving devices after all.”



       In another communication, co-defendant Whelan informed the defendant that “I was

able to get my hands on an OEM bag and it is not assembled the way the Lucy video instructed

us to do it….My mechanic friend thinks that assembling them the way we were instructed to

do it ‘may be fine’…. Bottom line, I assembled one with their instructions and it just may

work. I can’t see why it wouldn’t but… I’m not an airbag expert.” (See PSR ¶54 and 55).



       Even with all uncertainty surrounding the assembling of the airbags, the defendant

new co-defendant Whelan was selling them and he continued to smuggle/import the air bags

from China (See PSR ¶ 23-26).




                                               5
         Case 1:17-cr-00170-RJA Document 54 Filed 04/26/19 Page 6 of 6



       The above-mentioned facts contradict the defendant’s assertion that he believed that

air bags were fully assembled and unaware of any assembly mistakes.



       The fact that the defendant continued importing/smuggling counterfeit air bags into

the United States after the Chinese manufactures advised him it was illegal, began having the

air bags shipped unassembled and learning his business partner had little to no knowledge on

how to assemble the air bags demonstrates a conscious risk that others would suffer serious

bodily injury. The defendant’s conduct could also be construed as reckless as it would be

obvious to disregard said risk as it would be a gross deviation from what a reasonable person

would do. The defendant’s statement, “I knew better and I am glad no one was hurt,” further

supports the application of the enhancement (See PSR ¶67).



Conclusion:

       For the above stated reasons the court should applying the substantial risk of death or

serious bodily injury enhancement when computing the defendant’s base offense level.

       DATED: Buffalo, New York, April 26, 2019.

                                           JAMES P. KENNEDY, JR.
                                           United States Attorney


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                                              6
